                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

BEVERLY J. WILLIAMSON,

and

REBECCA PALMER
                                           Case No. 4:18-cv-0051 3-DGK
                   Plaintiffs,

      vs.

COMMERCE BANK

                   Defendant.

                     DEFENDANT COMMERCE BANK'S
      SUGGESTIONS IN OPPOSITION TO PLAINTIFFS' MOTION TO REMAND




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                                             I. INTRODUCTION

           The Court should deny Plaintiffs' Motion to Remand because at the time of removal

Commerce was nominally, substantively, functionally, and exclusively the defendant in this case,

which entitles it to remove this putative class action under the Class Action Fairness Act of 2005

("CAFA").         Plaintiffs' argument here is that despite meeting the requirements of CAFA, their

claims cannot be adjudicated in federal court solely because they were initially and intentionally (to

avoid removal under CAFA) filed as state court counterclaims, making improper Commerce's

admittedly otherwise proper removal.               The heart (and critical flaw) of Plaintiffs' argument is

"{b]ecause           1441(a) and 1453(b) use the Shamrock Oil' definition of the word 'defendant,'

[citations omittedj, this Court should remand this case to state court as it did in Steeby." ECF 8 at 3.

But Plaintiffs' "once a plaintiffalways a plaintiff' position is unsound. Shamrock did not address-

let alone define "defendant" to exclude-a realigned plaintiff whose claim has been dismissed with

prejudice. Nor was CAPA a factor when Shamrock was decided in i 94 1                 .   Shamrock's holding is

limited to the unremarkable proposition that a state court plaintfj'cannot remove on the basis of a

counterclaim.        There is no question that at the lime of removal Commerce was "a defendant"

entitled to remove under 28 U.S.C.                 1446 and 1453. And it is "time of removal" that is the

appropriate lens here.

           Por that reason, Plaintiffs' reliance on Steeby y.    Discover Bank,   980 P. Supp. 2d 1131 (W.D.

Mo. 2013) is also misplaced. In Sleeby, this Court assessed removal based on a snapshot of the

parties at the time of the filing of the original complaint, thus finding a substantive analysis to be

unnecessary.        Id.   at 1136.   Subsequent to Steeby, however, the Eighth Circuit has three times


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    Shamrock Oil & Gas Corp. y. Sheets, 3 13 U.S. 100 (1941).




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confirmed that the propriety of removal is to be assessed at the time   of removal.   See Williams y.

Employers Mut. Cas. Co., 845 F.3d 891, 900 (8th Cir. 2017); Pudlowski y. The Si. Louis Rams,

LLC, No. 16-8009, 2016 WL 3902660, at *1 (8th Cir. July 19, 2016); Grawitch y. Charter

Commc 'ns, Inc., 750 F.3d 956, 959 (8th Cir. 2014) (recognizing under CAFA that "[t]he court's

jurisdiction is measured at the time ofremoval."). That is consistent with Supreme Court precedent

interpreting the term "defendant" in federal removal statutes, which requires courts to make a

substantive determination based on the circumstances of the particular case. See Mason City & Ft.

D.R. Co. y. Boynton, 204 U.S. 570, 578-80 (1907), reaffirmed in Chicago, R.L & P.R. Co. y. Stude,

346 U.S. 574, 578-80 (1954). Indeed, only six months after its decision in Shamrock, the Supreme

Court directed that in diversity removal cases: "It is our duty, as it is that of the lower federal

courts, to look beyond the pleadings and arrange the parties according to their sides in the dispute,"

and in so doing, look to "the principal purpose of the suit and the primary and controlling matter in

the dispute." Indianapolis y. Chase Nat'! Bank, 314 U.S. 63, 70 (1941).

       Thus, when viewed through the proper lens, the answer to the question presented here is

clear-at the time of removal Commerce was nominally, substantively, and exclusively the

defendant and therefore entitled to remove. Similar to the Eighth Circuit, other circuits have held

that federal jurisdiction is assessed at the time of removal, and courts in those circuits (Sixth,

Eleventh, and Fifth) appropriately looked at the substantive interests of the parties at the time of

removal-and are in accord with allowing removal in circumstances similar to this case. See, e.g.,

Hrivnak y. NCO Portfolio Mgmt., Inc., 723 F. Supp. 2d 1020, 1028 (N.D. Ohio 2010), affd, 719

F.3d 564 (6th Cir. 2013); Stewart y. Bureaus   mv.   Grp. No. 1, No. 3:10-CV-1019-WKW, 201 1 WL

2313213, at *6 (M.D. Ala. June 10, 2011); Zea y. Avis Rent a Car Sys., Inc., 435 F. Supp. 2d 603,

607 (S.D. Tex. 2006). Here, 80% ofthe alleged class members are non-Missouri residents (ECF 1,



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    30), thus presenting a multitude of state laws with varying interpretations of the UCC-matters

which federal courts are better suited to address-and removal is unquestionably consistent with

CAFA's express purpose to expand federal jurisdiction over multi-state class actions.

                                                II. ARGUMENT

A.        Commerce's Removal Is Proper Under CAFA.

          1.      CAFA's Requirements Are Met.

          "A primary purpose in enacting CAFA was to open the federal courts to corporate

defendants out of concern that the national economy risked damage from a proliferation of meritless

class action suits." Bell y. Hershey Co., 557 F.3d 953, 957-58 (8th Cir. 2009) (citing CAFA, Pub.L.

No. 109-2, 2(a)(2)(B), i 19 Stat. 4, 5 (codified as a note to 28 U.S.C. 171 1) ("{T]here have been

abuses of the class action device that have adversely affected interstate commerce."); see also

United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int'l Union,

AFL-CIO, CLC y. Shell Oil Co., 602 F.3d 1087, 1090 (9th Cir. 2010) ("Congress passed the Class

Action Fairness Act primarily to curb perceived abuses of the class action device which. . .had often

been used to litigate multi-state or even national class actions in state                 courts.").2    The Supreme

Court has made clear that "no antiremoval presumption attends cases invoking CAFA, which

Congress enacted to facilitate adjudication of certain class actions in federal court." Dart Cherokee

Basin Operating Co., LLC y. Owens, i 35 5. Ct. 547, 554 (2014).

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  - adopting CAFA, the Senate Judiciary Committee Report noted "[CAFA] is intended to expand substantially federal
court jurisdiction over class actions." S. Rep. No. 109-14, at 43 (2005), reprinted in 2005 U.S.C.C.A.N. 3, 41.
Additionally, the Senate Judiciary Committee cautioned against state courts litigating multi-state class actions, the very
reason for expandingjurisdiction under CAFA. "[M}any state courts freely issue rulings in class action cases that have
nationwide ramifications, sometimes overturning well-established laws and policies ofotherjurisdictions." S. Rep. No.
109-14, at 43 (2005), reprinted in 2005 U.S.C.C.A.N. 3, 41. "The lack of a federal forum for most interstate class
actions and the inconsistent administration ofclass actions in state courts have led to several forms ofabuse," including
lawyers, not class members, benefitting from settlements, corporate defendants forced to settle frivolous claims, due
process rights being ignored, and "copy-cat cases" forcing defendants to litigate cases in many jurisdictions, which
increase consumer costs. ¡d. at 15.




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       CAPA relaxed the traditional removal rules by authorizing the removal of putative class

actions "commenced" on or after February 18, 2005, if: (i) the amount-in-controversy exceeds $5

million in the aggregate; (ii) the citizenship of at least one member of the proposed class is diverse

from any defendant; and (iii) the proposed class size is not less than 100.         See 28 U.S.C.
i 332(d)(2)(A), d(5)(B), d(6), "note re: "Effective and Applicability Provisions - 2005 Acts"; Pub.

L. 109-2, 119 Stat. 4, 9 (2005). Commerce's Notice ofRemoval meets these relaxed requirements

(see ECP i ), and Plaintiffs do not challenge that those requirements are met.

       2.      Commerce Is "A Defendant" Entitled To Remove Under CAFA.

        CAFA authorizes the removal ofcertain class actions by "[a] defendant or defendants." See

28 U.S.C. 1332(d); 28 U.S.C. 1453(b); 28 U.S.C. 1446(a). Federal law determines who is a

defendant for purposes of removal. Stude, 346 U.S. at 578-80; Minot Builders Supply Ass 'n y.

Teamsters Local 123, 703 F.2d 324, 327 (8th Cir. 1982); see also n. 4 infra. The Supreme Court

made clear over a i 00 years ago that the determination of who is a defendant for purposes of

removal is a substantive analysis. See Mason City & Ft. D.R. Co. y Boynton, 204 U.S. 570, 578-80

(1 907); see also Stude, 346 U.S. at 578-80; Minot Builders Supply Ass'n, 703 F.2d at 327 (holding a

union, which was not named as a defendant, was a defendant entitled to remove "as a practical

matter" based on a substantive analysis). The keys to that substantive analysis are ascertaining the

"principal purpose of the suit," "the primary and controlling matter in dispute," and who controls

"the institution and continuance ofthe proceedings" (see Boynton, 204 U.S. at 580; Chase, 3 14 U.S.

at 69), and doing so "at the time ofreniova!" based on the record at the time ofremoval. See, e.g.,

Grawitch, 750 P.3d at 959 (CAFA case; stating "[tIbe court's jurisdiction is measured at the time of

removal") (citing Hargis y. Access Capital Funding, LLC, 675 F.3d 783, 789 (8th Cir. 2012));

Porlis y. Sears, Roebuck & Co., 621 F. Supp. 682, 683 (E.D. Mo. 1985) (citing Pullain Co. y




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Jenkins, 305 U.S. 534 (1939)) ("Whether an action filed in state court may properly be removed to

federal court is to be determined from the record at the time the petition for removal is filed.").3

        Applying these well-established principles to the facts of this case results in only one

conclusion: Commerce is a defendant entitled to remove under CAFA. This case began on May 2,

2016, as a simple claim for a $13,023 deficiencyjudgment filed by Commerce against Plaintiffs in

the Associate Circuit Court of Carroll County, Missouri, which was the only court where

Commerce could file the claim. See ECF 1, 1; RSMo. 517.011.1(1); 28 U.S.C. 1332.                                     In

response, Plaintiffs filed an Amended Answer and Counterclaim (the "Complaint") on behalf of a

putative nationwide class alleging that Commerce's Pre-Sale and Post-Sale Notices are defective

and misleading under the Missouri Uniform Commercial Code. See ECF 1-2 at 28-38. Commerce

dismissed its deficiency claim with prejudice (Id. at 1 90), leaving Plaintiffs' Complaint, and its

claims for millions of dollars in damages from Commerce, as the only remaining claims in the case.

See ECF 1, J17-21. On June 27, 2018, the state court granted Commerce's Motion to Realign the

Parties, and formally realigned and nominated Commerce as the "Defendant" in this case. ECF 1-1.

Commerce removed this case a week later, on July 6, 2018. ECF 1. Thus, at the time of removal,

Commerce was a "defendant" under federal law entitled to remove because: (1) it was formally

nominated as the "Defendant" by the state court; (2) the "principal purpose of the suit" and "the

primary and controlling matter in dispute" (indeed the only matters in dispute) are the putative class

claims asserted by Plaintiffs in the Complaint; and (3) Plaintiffs (and only Plaintiffs) control "the

institution and continuance of the proceedings." See Boynton, 204 U.S. at 580; Chase Nat. Bank,

314 U.S. at 69.


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 See also Schube,i y. Auto Owners Ins. Co., 649 F.3d 817, 822 (8th Cir. 201 1) (measuring court'sjurisdiction at time of
removal (or, for complaints originally filed in federal court, at time ofcommencement ofaction) "is axiomatic"); Lui: y.
Pickle, No. 4:14CV1775 1CM, 2015 WL 2412194, at 9 (E.D. Mo. May 20, 2015) (same).



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         The same conclusion was reached in in Hickman y. Alpine Mgint. Grp., 919 F. Supp. 2d

1038, 1043 (W.D. Mo. 2013) (denying remand of case removed by original state court plaintiff

because dismissal of plaintiff's affirmative claims rendered her "substantively the                       defendant").4


Other courts reached this conclusion in factually similar circumstances. Hrivnak, 723 F. Supp. 2d at

i 028 ("This Court must exercise its own judgment to determine whether parties are truly opposed to

each other, see Chase National Bank, 314 U.S. at 70, 62 S.Ct. 15, and it would be a strange

limitation on this rule to hold that the C'ourt must nevertheless consider tue party who asserted all

of the   affirmative claims pending in this action at the time                of removal     to be a defendant. . .. ")

(Emphasis added); Stewart, 2011 WL 2313213, at *6 (discussed more fully below); see also

Passmore y. Discover Bank, No. l:11CV01347, 2012 WL 2332233, at                              1 (N.D. Ohio June 14,

2012) (allowing removal after realignment); Vassalle y. Midland Funding LLC, 708 F.3d 747 (6th

Cir. 2013) (finding district court had federal subject matter jurisdiction over a class action claim

initially filed in state court as a counterclaim because the original plaintiff's claim was dismissed

and the parties were realigned before removal by the state court); Zea y. Avis Rent a Car System,

Inc., 435 F. Supp. 2d 603 (S.D. Tex. 2006) (allowing removal by original third-party defendants

after realignment by the state court because the realignment order "turned this case from a

nonremovable case to a removable case."); Crump y. Wal-Mari Group Health Plan, 925 F. Supp.

1214, 1219-20 (W.D. Ky. 1996) (allowing removal by original intervening plaintiff of original

defendant's cross claim after the cross claim was severed and the parties realigned).




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  The Hickman court's extensive substantive removal analysis was not based on any delay by the debtor in moving to
remand, but rather the fact that Shanrock and the law "does not support [Hickman's assertion] that once a counterclaim,
always a counterclaim, or that once a plaintiff always a plaintiff." ¡d. at 1042-43. "The notice of removal creates a
jurisdictional snapshot of a case to which a federal court looks to determine federal jurisdiction." ¡d at I 043 (citation
omitted).




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       The Stewart decision is closely analogous to the present case. There, the original plaintiff

removed the defendant's counterclaim after it dismissed its debt collection claim and the state court

realigned the parties. The defendant moved to remand, making the same argument advanced by

Plaintiffs here, i.e., that Shamrock established the rule that "once a plaintiff always a plaintiff{;]

likewise once a defendant always a defendant." 2011 WL 2313213 at *2. The court closely

analyzed the situation, noting that neither its circuit (the Eleventh) nor any other circuit had

addressed the realignment-removal issue (id.), and then rejected the defendant's argument as

overstretching Shamrock's guidance, stating:

       Nowhere in Shamrock is such a principle elaborated, suggested, or even
       implicated. . . . In Shamrock, the removing plaintiff still had pending claims from its
       original complaint. . . . Although the plaintiff in Shamrock was in substance a
       defendant on the counterclaim, it was also in substance a plaintiff on its own claims.
       Unlike the removing plaintiff in Shamrock, Bureaus is nominally, substantively and
       exclusively a defendant in this case on account of the state court's Order of
       Realignment.

2011 WL 2313213 at *2 (emphasis added). Continuing its analysis, the Stewart court observed

"two well-established principles of removal law." Id. at *3 First, in the Eleventh Circuit (just like

the Eighth Circuit), jurisdiction is assessed at the time of removal, and "[the defendant] fails to

explain how her claims remained counterclaims as of the time of removal." Id. (Emphasis in

original). Second, quoting from Chase, the court found itself duty bound to look at the substance of

who was plaintiff and defendant:

       The "primary and controlling matter[s] in the dispute" are Ms. Stewart's claims
       against Bureaus. In fact, those claims are the only matters in the dispute. Because the
       flow ofall ofihe pending claims originates with Ms. Stewart and with her pleading
       that is nominally titled a "Counter-Complaint, " there is no doubt that she is
       properly the plaintffin the action, and Bureaus is properly the defendant. Based on
       these developments, there is also no doubt that her "Counter-Complaint" was the
       complaint in this lawsuit by the time of removal. A contrary holding would be an
       abandonment of the duty "to look beyond the pleadings [and their titles] and arrange
       the parties according to their sides in the dispute."



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Id. at *4 (emphasis added), quoting Chase, 314 U.S. at 70. The court denied the motion to remand,

stating that "removal by a realigned defendant based upon a pleading originally filed as a counter-

complaint is proper under the circumstances presented in this case." 2011 WL 2313213, at *6.

       This Court should follow these well-reasoned decisions and, consistent with the Eighth

Circuit and Supreme Court precedent discussed above, deny Plaintiffs' Motion to Remand.

B.     Plaintiffs' Authorities Are Unavailing.

       Plaintiffs do not (and cannot) contest that Commerce was nominally, substantively, and

exclusively the defendant at the time   of   removal. They argue instead that such a conclusion is

irrelevant for purposes of removal because the parties' alignment is determined at the time the

original complaint is filed (see ECF 8 at 4-5), and that the Supreme Court's decision in Shamrock

controls and requires remand. See ECF 8 at 3. The decisions cited and relied on by Plaintiffs to

support these conclusions, including Shamrock and Sleeby, are unavailing.

       i.      Shamrock Oil & Gas Corp. y. Sheets, 313 U.S. 100 (1941).           In Shamrock, the

question on appeal was whether a suit in which a counterclaim is filed is removable by the current

plain1ff 313 U.S. at 103. The Supreme Court held that the removal statute confers the ability to

remove only on defendants and therefore the plaintjff (who still had claims pending against the

defendant) was not entitled to remove despite also being a counterclaim defendant. Id. , at i 07-08.

Nowhere in Shamrock does the Supreme Court suggest or even implicate the "once a plaintiff

always a plaintiff' rule Plaintiffs champion here.       See Hickman, 919 F. Supp. 2d at 1042

("The Shamrock case established the general rule of law for removal under section 1 44 1 (a) which

restricted removal to defendants. However, this restriction that defendants were the only parties

which could remove a case to federal court did hot establish that once a plaii,tjff in a state court

action, always a plaintjff or that once a defendant always a defendant. Rather, the facts of




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the Shamrock case stand for the rule of law that when a plaintiff in a state court action is a true

plaintiff with claims pending against the defendant of the state action, the plaintiff cannot remove

his or her case to federal court based on the counterclaims made by a defendant in the case.")

(Emphasis added); Stewart, 2011 WL 2313213 at *2 (same; stating: "Aside from its holding that

removal is limited to defendants, Shamrock is otherwise unhelpful to the present inquiry.").

Likewise, the Seventh Circuit's Bauer decision, relied on by Plaintiffs (ECF 8 at 2, 3, 6, 7),

analyzed Shamrock and determined: "All we know from Shamrock Oil is that removal is not

available for a plaintiff who is a counterclaim-defendant."                    Tn-State Water Treatment, Inc.             y.


Bauer, 845 F.3d 350, 354 (7th Cir. 2017), citing Shamrock, 313 U.S. at 108-09.                         Thus, Shamrock

does not undermine Commerce's argument that it is a defendant entitled to remove under CAFA.6

           ii.      Steeby y. Discoyer Bank, 980 F. Supp. 2d 1131 (W.D. Mo. 2013). In Steeby, this

Court assessed the propriety of removal based on a snapshot of the parties "at the time the

[original] complaint wasfiled," stating it "need not consider whether Discover was substantively a

defendant under [the removal statutej at the time of removal." Id. at 1136. Steeby based that

determination on the Eight Circuit's decision in Uniyersal Underwriters Ins. Co. y. Wagner, 367 F.

2d 866 (8th Cir. i 966), stating: "The Eight Circuit . . . has held that for purposes of applying the

federal removal statute, the parties' alignment is determined as of the time the original complaint is

s Bauer also found West y. Aurora City, 73 U.S. (6 Wall.) 139 (1867), cited by Plaintiffs (ECF 8 at 5), to be of little
interpretive assistance because "[alt that time. . . the rules governing counterclaims, cross-claims, and third-party claims
were significantly different from those that now appear in the Federal Rules of Civil Procedure, and so there is no
reason to believe that the Court was speaking one way or the other to the situation that confronts us here." Bauer, 845
F.3d at 354.
6
    Plaintiffs miss the point by citing to cases which hold that CAFA does not allow a counterclaim defendant to remove.
ECF 8 at 2, 6-7. For purposes of this Opposition, Commerce does not (and does not need to) dispute those cases
because it does not "wear two hats, one as plaintiff and one as defendant." ¡d. at 2 (citation omitted). Commerce's
claim was dismissed with prejudice, and the only claims in this case as ofremoval are those asserted by Plaintiffs. In all
respects, Commerce is solely a defendant. When nominated and aligned as such, removal was proper.




                                                           e



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filed, not at the time of removal." Id. at 1135 (citing Wagner, 367 F.2d at 871). Steeby declined to

follow Hickman's "time of removal" holding because it "is based on Eleventh Circuit caselaw."

980 F.Supp. 2d at 1136. However, Eighth Circuit precedent after Steeby clarifies that a federal

court's jurisdiction is measured at the time of removal. See Grawitch, 750 F.3d at 959; Pudlowski,

2016 WL 3902660, at *1; see also Schubert, 649 F.3d at 822; Hargis, 674 F.3d at 789. In short, the

"jurisdictional snapshot" is taken when the case first enters federal court.8

           Courts in the Western District have recognized this well-established Eighth Circuit

precedent in cases decided after Steeby. See, e.g., Mikelson y. Allstate Fire and Cas. Ins. Co., 16-

01237-CV-W-RK, 2017 WL 634515, at *3 (W.D. Mo. Feb. 16, 2017) (Ketchmark, J.) ("28 U.S.C.

1441(a) allows an action to be removed if a district court has original jurisdiction. 28 U.S.C.

1 332(a) provides that a district court has original jurisdiction in a civil matter between diverse

citizens in which the amount-in-controversy is at least $75,000.                       'The court's jurisdiction is

measured at the tinte ofremoval.") (Emphasis added) (quoting Grawitch, 750 F.3d at 959); Simon

y. Liberty Mut. Fire Ins. Co., No. 4:17-CV-0152-DGK, 2017 WL 6209705, at *3 (W.D. Mo. Dec. 8,

20 1 7) (Kays, J.) ("In determiizing whether removal vas appropriate, the court's jurisdiction is

determined at the time the case was removed, even if 'subsequent events may remove from the case


7
  Sleeby also cites Deaver as authority for this proposition. Steeby, 980 F. Supp. 2d at I 135. As discussed in more
detail below, however, the court in Deaver based its decision to remand on Shamrock, not Wagner, because the parties
had not been realigned prior to removal. Deaver, 2013 WL 2420392, at *2..3. The Deaver court discussed Wagner
solely in the context of the defendant's post-removal motion Io realign, holding that Wagner 's reasoning applied even
though it "did not involve removal jurisdiction" because the defendant did "not offer persuasive case law in support of
the proposition that the precedent . . is inapplicable when realignment is sought after removal." ¡d at *5 The issue
                                      .


here is not realignment in federal court-that was already done in state court. ECF l-l. Rather, it is whether
Commerce is a defendant entitled to remove under CAFA, which is a different question governed by a different set of
precedents.
8
  This is consistent with Wagner, which involved an original complaint filed in federal court. Wagner did not concern
removal or determining who is a defendant for purposes ofthe removal statutes-it was limited to whether a subsequent
act (realignment) could destroy diversity jurisdiction in a case initially filed in federal court. See Wagner, 367 F.2d at
870-7 1.




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the facts on which jurisdiction was predicated.") (Emphasis added); Gauert y. Gerdati Ameristeel

    US. Inc., 2017 WL 1609861, at *1 (W.D. Mo. May 1, 2017) (Kays, J.) ("Jurisdiction is determined

at the time of removal, even though later events may have removed from the case the facts on which

jurisdiction was predicated, including the dismissal of a defendant.                      .   .   .") (Internal citations

omitted); Slocum y. Gerber Products Co., 2:16-CV-04120-NKL, 2016 WL 3983873, at *4 (W.D.

Mo. July 25, 2016) (Laughrey, J.) ("First, the Court is to consider whether it has jurisdiction over an

action based on the time of removal.").9

          The Steeby decision is also distinguishable in that it did not involve CAFA. The Court noted

in Steeby that it would have remanded "even if Discover's argument were not foreclosed by                             .   .



Wagner" because it has to "resolve all doubts about removal in favor of remand." Steeby, 980 F.

Supp. 2d at i 137. That would not be the case here because the policies of CAFA both remove the

presumption that all doubts are resolved in favor of remand and support that this nationwide class

action should remain in federal court.              Dart, 135 S. Ct. at 554 (noting that "no antiremoval

presumption attends cases invoking CAFA," and "CAFA's provisions should be read broadly, with

a strong preference that interstate class actions should be heard in a federal court if properly

removed by any defendant.") (quoting S. Rep. No. 109-14, p. 43 (2005)))ø


9
  As Sleeby notes, federal law controls who is a "defendant" for purposes ofremoval, 980 F. Supp. 2d at I 135, and the
concerns voiced in Stude (regarding certain state law procedural vagaries) require that courts not accept at face value a
state court's realignmenticaptioning ofparties. ¡d., citing Stude, 436 U.S. at 580. Similarly, district courts must "look
beyond the pleadings" to independently confirm the substance. Chase, 314 U.S. at 70; see Hrivnak, 723 F.Supp. 2d at
I 028 (A state court realignment creating removal jurisdiction is "subject to the caveat that a federal court must exercise
its own judgment to ensure that opposing parties are on opposite sides of a dispute.") In that regard, the dismissal with
prejudice of Commerce's claim (underlying the state court's decision to realign and nominate Commerce as
"Defendant" (ECF l-l)), is easily verifiable from the record. ECF l-2 at 190. None ofthe state law procedural quirks
mentioned in Stude are in play here; nor is control ceded to the state court-in fact, the state court's order expressly
recognizes that the determination ofremoval/remand is the federal court's province. ECF l-l.
lo Plaintiffs try to brush aside CAFA by arguing that cases have held that CAFA's use of "any defendant" did not
expand removal jurisdiction to encompass counterclaim defendants. ECF 8 at 6-7. This is a straw horse. Commerce's
right to remove does not depend on whether CAFA expanded the definition of "defendants." Rather, removal
jurisdiction is measured when the case arrives in federal court-whether by initial filing or by removal. Hargis,


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         iii.      Arrow Financial Services, LLC. y. Williams, 2011 WL 9158435 (W.D. Mo. Jan. 20,

2011). The Arrow decision is distinguishable for the following three reasons: (1) the court did not

consider or apply the well-established principles discussed above, which make clear that the

propriety of removal is measured at the time of removal and that the determination of who is a

defendant for purposes of removal requires a substantive analysis of the circumstances at the time of

removal (id. at *2..3)I   1;
                               (2) unlike Commerce here, the plaintiffin Arrow dismissed its claim without

prejudice and removed without being formally realigned in state court (see id. at *1); and (3) the

court in Arrow was concerned with the potential for forum shopping (see id. at *4), a risk absent

here because, unlike the plaintiff in Arrow, Commerce dismissed its affirmative claims with

prejudice priorto     realignment.'2     See ECF 1-1.

         iv.       General Credit Acceptance Co., LLC. y. Deaver, 2013 WL 2420392 (E.D. Mo. June

3, 2013). Deaver is distinguishable for two reasons. First, like in Arrow, the party removing was

not realigned by the state court prior to removal. See Deaver, 2013 WL 2420392, at *3 The court

made clear this was an important distinction influencing its decision:

674 F.3d at 789 (In removal case, Eighth Circuit stated: "It is axiomatic that the court's jurisdiction is measured either
at the time the action is commenced or, more pertinent to this case, at the time of removal." (Citations omitted)).
CAFA's strong preference for these types ofclass actions to be in federal court bolsters removal in this case.
  The Arroii' court's reliance on Holmes Group, Inc. y. Vornado Air Circulation Systems, Inc., 535 U.S. 826 (2002) to
I I




support its position is misplaced. See Arrow, 201 I WL 9158435, at *3 In Holmes Group, the Supreme Court held that
a counterclaim cannot serve as the basis for "arising under" jurisdiction such that the Federal Circuit had jurisdiction to
hear an appeal. 535 U.S. at 83 1 . The Court did not address the issue of who is a defendant for purposes of removal.
Nor did it consider the well-pleaded complaint rule in a situation like this, where the parties have been realigned such
that at the ti/ne ofreinoval a counterclaim is the complaint filed by the plaintiff. Allowing removal here would not
"eviscerate the well-pleaded complaint rule." See Arrow, 201 I WL 9158435, at *4 Rather, it is consistent with that
rule because the basis for removal is Plaintiffs Complaint, the sole affirmative pleading remaining in the case.
12
   To the extent the issue of"forum shopping" is even relevant to the analysis here (it is not), it is a wash. Both parties
have availed themselves of procedural mechanisms available to them under Missouri and federal law. Plaintiffs filed
this putative class action as a counterclaim in an attempt to avoid removal under CAFA, and Commerce dismissed its
affirmative claims and sought realignment in state court so that it could remove. Importantly, however, Commerce
certainly did not intentionally select the state associate circuit court as the forum in which to defend against a putative
nationwide class action seeking the recovery of millions of dollars in damages under a multitude of state laws with
varying interpretations ofthe UCC. As discussed above, Commerce filed its deficiency claim in state court because that
was the only venue where it could be filed under Missouri and federal law. Congress made clear when it enacted CAFA
that the types ofclaims asserted by Plaintiffs should be litigated in federal court. See Section II.A.l, supra.


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         GCAC contends that there are several recent cases with similar factual situations, in
         which removal by the counterclaim defendant was found to be proper. However,
         unlike the instant action, in three of the cases cited by UCAC, Hrivnak y. NCO
         Portfolio Mgmt., 723 F.Supp.2d 1020, 1028 (N.D.Ohio 2010), Passmore y. Discover
         Bank,No. 1:11CV01347, 2012 WL 2332233, at 1(N.D. Ohio June 14, 2012),
         and Stewart y. Bureaus Ins. Grp. # 1, No. 3:1OCV1O19, 201 1 WL 2313213, at *3
         (M.D. Ala. June 1 0, 20 1 1 ), the state court had already realigiied the parties prior to
         the removal. These federal courts held that when a state court realigns parties, the
         realigned defendant can properly remove an action to federal court. Id. (as to entire
         string citation). Here, the state court did not realigii the parties, and GCAC was
         still the plaintjff at removal.

Id. (emphasis added). Second, the court relied exclusively on Shamrock, interpreting its holding as

establishing a hard rule that an original plaintiff can never remove. See id. at *2..3. As discussed

above, this interpretation improperly expands Shamrock beyond the boundaries of its facts and

holding (i.e., unlike Commerce, the removing party in Shamrock wore "two hats")

         V.        Midland Funding LLC y. Jacicson, 2014 WL 2800756, at *2 (E.D. Mo. June 19,

2014).        The Midland decision is factually distinguishable for the same reason as Arrow and

Deaver-i.e., the plaintiff removed after dismissing its claims but did not seek realignment in state

court prior to removal. See 20 1 4 WL 2800756, at       i   .   It is also legally distinguishable for the same

reason as Steeby in that it relies on Wagner for the proposition that alignment for purposes of

removal is determined as of the time the original complaint is filed, and did not address well-

established Eighth Circuit precedent requiring jurisdiction to be determined at the time of removal.

See id. at *2 (citing Wagner, 367 F.2d at 871) and *3 (same). Midland also was not a CAFA case.

C.       Commerce Did Not Waive Its Right To Remove.

         Commerce did not waive its right to remove because it did not have a right to remove until

June 27, 2018, when the state court realigned the parties (see 28 U.S.C. 1446(b)(3)), and

Commerce did not take any action in state court other than filing the required notice to clerk after

that date. It is axiomatic that Commerce could not waive its right to remove before such a right



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existed. See Adams y. Lederle Laboratories, 569 F. Supp. 234, 247 (W.D. Mo. 1983) ("[I]t is

obvious that a defendant's acts in the state court, taken before the case became removable or before

the defendai,t was able to determine that the case was removable, cannot be taken as a waiver of

the right to remove.") (Emphasis added); Wright y. Lupton, i 18 F. Supp. 25, 26 (W.D. Mo. 1954)

("The pleadings of a defendant prior to the time when it first appears from plaintiffs pleadings that

the cause is removable will not effect a waiver of the statutory right to removal."); Parshall y.

Menard, Inc., 4:16-CV-828 (CEJ), 2016 WL 3916394, at *3 (E.D. Mo. July 20, 2016) ("However,

here, defendant filed its third-party complaint well before the action became removable. The Court

cannot conclude that defendant waived a right it did not yet have at that point in the proceedings.");

see also Bajaba, LLC y. Gen. Steel Dom. Sales, LLC, 14-CV-4057, 2014 WL 5363905, at *3 (W.D.

Ark. Oct. 21, 2014) ("[A] defendant cannot waive his/her right to remove by defending the action in

state court before the right   of removal   existed. ") (Emphasis added)).

        This case is not like Bolivar Sand Co., Inc. y. Allied Equipment, Inc., 631 F.Supp. 171, 172

(W.D. Tenn. 1986), cited by Plaintiffs (ECF 8 at 7), where the Western District of Tennessee found

waiver because the defendant moved for directed verdict and a mistrial after the right to remove

was triggered and before it removed. Moreover, the court in Bolivar acknowledged that the right to

remove can only be waived "by acts taken subsequent to the creation of the right [to remove] that

indicate a submission to the jurisdiction of the state court." 631 F. Supp. at 172 ("In a case such as

the present in which the right to remove did not exist initially, the issue is what acts are sufficient,

once that right is created, to constitute a waiver of the right.") (Emphasis added). There is also

nothing "unfair" about Commerce's removal, which is expressly contemplated by the removal

statutes.   See 28 U.S.C. 1446(b)(C)(3) ("[I]f the case stated by the initial pleading is not

removable, a notice of removal may be filed within 30 days after receipt by the defendant, through



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service or otherwise, of a copy of an amended pleading, motion, order or other paper from which it

may first be ascertained that the case is one which is or has become removable.").

D.      There Is No Basis For Awarding Costs And Fees To Plaintiffs.

        This Court recognized in Steeby that the issue presented here is a "difficult" one involving

"the collision of two jurisdictional principles" that "no circuit courts have directly addressed." 980

F. Supp. 2d at i i 34. Since Steeby, the Eighth Circuit clarified that the propriety of removal is tested

al the time    of   removal (see Williams, 845 F.3d at 900; Pudlowski, 2016 WL 3902660, at *1;

Grawitch, 750 F.3d at 959), which authority provides the basis for Commerce's removal and

negates Plaintiffs' position that Wagner controls the outcome. This case is also removed under

CAFA, which repudiated the presumption in favor of remand and espoused strong policy reasons

for claims such as Plaintiffs to be heard in federal court. Thus, it was objectively reasonable for

Commerce to remove when it was nominally, substantively, functionally, and exclusively the

defendant in this case at the time      of removal.'3


                                            III.     CONCLUSION
         Contrary to Plaintiffs' assertion, Commerce is not "attempting to 'remove its own lawsuit to

federal court," ECF 8 at 1-2-Commerce's Petition was dismissed with prejudice. The only claim

pending at the time of removal is the putative class action, in which Commerce is in all respects the

defendant. At the time of removal, Commerce wears no hat other than defendant, and removal

under CAFA is therefore proper.


'3
   See Martin y. Franklin Capital Corp., 546 U.S. 132, 141 (2005) ("Conversely, when an objectively reasonable basis
exists, fees [under 28 U.S.C. 1447(c)] should be denied."); Convent Corp. y. City ofNorth Little Rock, Ark., 784 F. 3d
479, 483 (8th Cir. 20 1 5) ("In determining whether the removing party lacked an objectively reasonable basis for seeking
removal, the district court does not consider the motive ofthe removing defendant. Rather, the court must consider the
objective i,zerits of removal at tue finie of removal, irrespective of the ultimate remand.") (Emphasis added; internal
citations and quotations omitted).




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                                            Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 201 8, the foregoing was filed electronically with the Clerk
ofCourt to be served by operation ofthe Court's electronic filing system upon:

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